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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                           at Greenbelt
                                    In re:   Case No.: 10−37371 − TJC    Chapter: 11

KH Funding Company
Debtor

                                                      NOTICE


PLEASE TAKE NOTICE that a Status Conference will be held

on 6/30/22 at 10:00 AM
by videoconference or teleconference
(for hearing access information see www.mdb.uscourts.gov/hearings or call 410−962−2688)

to consider and act upon the following:

1 − Chapter 11 Voluntary Petition. Fee Amount $1039 Filed by KH Funding Company. Chapter 11 Plan Exclusivity
due by 04/4/2011. Government Proof of Claim due by 06/1/2011. Schedule A due 12/17/2010. Schedule B due
12/17/2010. Schedule D due 12/17/2010. Schedule E due 12/17/2010. Schedule F due 12/17/2010. Schedule G due
12/17/2010. Schedule H due 12/17/2010. Statement of Financial Affairs due 12/17/2010. Summary of schedules due
12/17/2010. Incomplete Filings due 12/17/2010 (Attachments: # (1) Exhibit A to Voluntary Petition# (2) Certification
of Resolution# (3) Verification of Creditor Matrix with Matrix attached) (Coppel, Lawrence)




NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 6/7/22
                                                           Mark A. Neal, Clerk of Court
                                                           by Deputy Clerk, Rita Hester




Form stathrgmdb (rev. 07/29/2020)
